    Case 19-29718      Doc 141      Filed 03/06/20 Entered 03/06/20 09:21:00               Desc Main
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Dated: March 05, 2020
The following is ORDERED:


                                                       ________________________________________
                                                                     Jennie D. Latta
                                                          UNITED STATES BANKRUPTCY JUDGE


____________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

                                                         )
IN RE:                                                   )       CHAPTER 11
                                                         )
        JAMES JERRY SKEFOS, et al., 1                    )       CASE NO. 19-29718-JDL
                                                         )
                DEBTOR.                                  )       JOINTLY ADMINISTERED
                                                         )

          ORDER GRANTING MOTION TO EXPEDITE HEARING AND SHORTEN
     NOTICE REGARDING THE CHAPTER 11 TRUSTEE’S MOTION TO SELL REAL
    PROPERTY LOCATED AT 1180, 1182; 1184, 1186; AND 1188, 1190 BROWN AVENUE


        Before the Court is the Motion to Expedite Hearing and Shorten Notice Regarding the

Chapter 11 Trustee’s Motion to Sell Real Property Located at 1180, 1182; 1184, 1186; and




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  The other debtors in these jointly administered cases are Skefco Properties, Inc., Case No. 19-26580 and
Eleftheria, LLC, Case No. 19-26603.
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1188, 1190 Brown Avenue (the “Motion”), and the Court2 having found and concluded that (i) it

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (ii) this matter is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), (iii) venue is proper pursuant to 28 U.S.C. §§

1408 and 1409, (iv) good and sufficient notice of the Motion has been given and a reasonable

opportunity to object to, or be heard has been afforded to all interested persons and entities, and

(v) conducting an expedited hearing regarding the Sale Motion on shortened notice is in the best

interests of the Debtor’s estate,


           IT IS THEREFORE ORDERED THAT:

           1.       The Motion is granted.

           2.       A hearing on the Motion to Sell Real Property Located at 1180, 1182; 1184,

1186; and 1188, 1190 Brown Avenue (the “Sale Motion”) [Dkt Entry No. 128] is scheduled for

March 12, 2020, at 10:15 a.m. (the “Sale Motion Hearing”).

           3.       There is no deadline for responding or objecting to the Sale Motion prior to the

Sale Motion Hearing.

           4.       Objections and responses to the Sale Motion may be lodged orally at the Sale

Motion Hearing.

           5.       Within one business day of the entry of this Order, the Trustee shall serve a copy

of this Order on all parties in interest and parties requesting notice.

           6.       The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

           IT IS SO ORDERED.

    THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS INDICATED
                      AT THE TOP OF THE FIRST PAGE.


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    All capitalized terms used but not defined herein shall have the meanings given to them in the Motion.


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Submitted for Entry by:


MANIER & HEROD, P.C.

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Counsel for the Chapter 11 Trustee


FINAL ORDER TO BE SERVED ON: All persons listed on the matrix.




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